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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


 NATIONAL SHOOTING               SPORTS Hon. Zahid N. Quraishi, U.S.D.J.
 FOUNDATION,                            Hon. Tonianne J. Bongiovanni,
                                        U.S.M.J.
                    Plaintiff,
             v.                             Civil Action No. 3:22-cv-6646

 MATTHEW J. PLATKIN, in his
 official capacity as Attorney General of          NOTICE OF APPEAL
 the State of New Jersey,

                    Defendant.


         NOTICE IS HEREBY GIVEN that Defendant Matthew J. Platkin,

  Attorney General of the State of New Jersey, hereby appeals, pursuant to 28

  U.S.C. § 1292(a)(1), to the United States Court of Appeals for the Third Circuit

  from the January 31, 2023 Opinion and Order of the District Court which

  granted Plaintiff’s Motion for a Preliminary Injunction and entered an

  injunction against Defendant (Docket No. 17 & 18).
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                                   MATTHEW J. PLATKIN
                                   ATTORNEY GENERAL
                                   OF NEW JERSEY

                             By:   /s/ Tim Sheehan__________________
                                   Tim Sheehan
                                   Deputy Attorney General

Dated: February 2, 2023
